           Case 3:19-mj-05146-BGS Document 1 Filed 11/18/19 PageID.1 Page 1 of 14
AO I06 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT COUR                                                       FILED
                                                                     for the
                                                         Southern District of California                                  NOV 1~ 2019

              In the Matter of the Search of                                                                    CLEHK US DIS rHICI COURT
                                                                        )                                    SOUTHf::RN DIS ! HICI Of-· CALIFO RNIA
         (Briefly describe the property to be searched                  )                                    BY                            DEPUTY
          or identify the person by name and address)                   )           Case No.
    One (1) White and Silver Apple I-Phone Cellular                     )
                                                                        )
                     Telephone
     FPF No: 2019250400194201 , Line Item 0003                          )                               ·.'19 MJ 51 4 6   f



                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location) :

 See Attachment A
                   Southern
located in the - - - - - - - - District of                   ------------
                                                                            California            , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B


          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                 ~ evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
           Code Section                                                       Offense Description
       21 USC§§ 952 , 960 and 963                  Importation of Methamphetamine
                                                   Conspiracy to Import Methamphetamine

          The application is based on these facts:



          ~ Continued on the attached sheet.
          0 Delayed notice of        days (give exact ending date if more than 30 days : _ _ _ _ _ ) is requested
            under 18 U.S.C. § 3103a, the basis of which is set forth on e attached sheet.
                                                                                         '      .
                                                                                         •. :J
                                                                                             .i ~,       (
                                                                                                         \_ A "     .
                                                                                                 Applicant 's signature
                                                                                                                              , ~ A~


                                                                                   Seidy Gaytan, SA, Dept. of Homeland Security
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.



           ~ -//'J
Date : / / ~ I
                                                                                                   Judge's signature

City and state: San Diego, CA                                                     Hon. Bernard G. Skomal , U.S . Magistrate Judge
                                                                                                 Printed name and title
       Case 3:19-mj-05146-BGS Document 1 Filed 11/18/19 PageID.2 Page 2 of 14




 1                                         AFFIDAVIT
 2         I, Seidy Gaytan, Special Agent with the United States Department of Homeland
 3 Security (DHS), Immigration and Customs Enforcement (ICE), Homeland Security
 4 Investigations (HSI), being duly sworn, hereby state as follows:
 5                                     INTRODUCTION
 6         1.     This affidavit supports applications for warrants to search the following
 7 electronic device, as further described in Attachment A (the "Target Device"), and seize
 8 evidence of crimes, specifically, violations of Title 21, United States Code, Section(s) 952,
 9 960, and 963, as more particularly described in Attachment B:
10                      One (1) White and Silver Apple I-Phone Cellular Telephone
11                      FPF No: 2019250400194201, Line Item 0003
                        (the "Target Device")
12
13         2.     The requested warrant relates to the investigation and prosecution of Jorge
14   MARTINEZ Romero ("Defendant") for importing approximately 25.50 kilograms (56.22
15   pounds) of methamphetamine from Mexico into the United States. See US. v. Jorge
16   Martinez Romero, Case No. 19-CR-3265P-JM (S.D. Cal.) at ECF No. 1 (Complaint). The
17   Target Device has been in the possession of DHS and securely stored since it was seized
18   from Defendant and is presently stored at 2255 Niels Bohr Court, San Diego, California
19   92154.
20         3.     Based upon my experience and training, and all the facts and opinions set forth
21   in this Affidavit, I submit that there is probable cause to believe that a search of the Target
22   Device will produce evidence of one or more of the aforementioned crimes, as more
23   particularly described in Attachment B.
24         4.     The information contained m this affidavit is based upon my training,
25   experience, investigation, and consultation with other members of law enforcement.
26   Because this affidavit is made for the limited purpose of obtaining a search warrant for the
27   Target Device, it does not contain all the information known by me or other agents
28   regarding this investigation. All dates and times described are approximate.

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       Case 3:19-mj-05146-BGS Document 1 Filed 11/18/19 PageID.3 Page 3 of 14




 1                                     BACKGROUND
 2         5.    I am a law enforcement officer of the United States within the meaning of Title
 3 18, United States Code, Section 2510(7), who is empowered by law to conduct
 4 investigations of, and to make arrests for, offenses enumerated in Title 18, United States
 5 Code, Section 2516. I am also a federal law enforcement officer within the meaning of Rule
 6 4l(a)(2)(C) of the Federal Rules of Criminal Procedure. I am authorized under Rule 4l(a)
 7 to make applications for search and seizure warrants and to serve arrest warrants. I also am
 8 authorized to investigate violations oflaws of the United States.
 9         6.    I am a Special Agent with HSI, which is a component agency of DHS and have
10 been so employed since September 2007. I am currently assigned to the HSI San Diego
11 field office in San Diego, California.     My job duties are to investigate smuggling of
12 controlled substances into the U.S.      I have been cross-designated by the U.S. Drug
13 Enforcement Administration (DEA) to conduct narcotics investigations and enforce
14 provisions of the Federal Controlled Substances Act, pursuant to Title 21 of the United
15 States Code. Prior to my career in law enforcement, I received a Bachelor of Arts degree
16 from the University of California San Diego, in La Jolla, California.
17         7.    As an HSI Special Agent, my formal training consisted of six months of
18 residential instruction at the Federal Law Enforcement Training Center in Glynco, Georgia,
19 which included training related to narcotics and dangerous drugs. I have participated in
20 training programs related to controlled substances, including but not limited to marijuana,
21 cocaine, methamphetamine, and heroin. I have also received training in the methods used
22 by narcotics traffickers to import, distribute, package and conceal controlled substances.
23 Moreover, I have participated in over 75 investigations and executed arrests for drug related
24 offenses, including possession with the intent to distribute, transportation, and the
25 importation of controlled substances.
26         8.    Based on my training and experience, I am familiar with the ways in which
27 drug smugglers and traffickers conduct their business. During the course of my duties I
28 have (1) worked as a case agent, directing specific drug-related investigations; (2) worked

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        Case 3:19-mj-05146-BGS Document 1 Filed 11/18/19 PageID.4 Page 4 of 14




 1 as a surveillance agent who observed and recorded movements of individuals suspected of
 2 trafficking drugs; (3) participated in the execution of search warrants related to drug
 3 investigations; (4) initiated and executed arrests for drug-related offenses, including
 4 possession with the intent to distribute; and (5) interviewed criminal defendants, witnesses,
 5 and informants in furtherance of investigations into the illegal smuggling and trafficking of
 6 controlled substances. Through these duties, I have gained a working knowledge and
 7 insight into the operational habits of drug smugglers and traffickers.
 8         9.     I have also spoken with other agents about their experiences and the results of
 9 their investigations and interviews. I have become knowledgeable of the methods and
10 modes of narcotics operations, including the methods of operation typically used by
11 narcotics traffickers. I have learned that narcotics traffickers often require the use of one or
12 more telephone facilities to negotiate times, places, schemes, and manners for importing,
13 possessing, concealing, manufacturing, and distributing controlled substances and for
14 arranging the disposition of proceeds from the sale of controlled substances.
15         10.    Investigations of the smuggling and trafficking of narcotics generate many
16 types of evidence including, but not limited to, cellular phone-related evidence such as voice
17 and text messages referring to the arrangements of travel and payment, names, photographs,
18 and phone numbers of co-conspirators. For example, based on my training and experience,
19 I have learned that load drivers smuggling controlled substances across the border are often
20 in telephonic contact with co-conspirators immediately prior to and following the crossing
21   of the load vehicle, at which time they receive instructions on how to cross and where and
22 when to deliver the controlled substances.
23         11.    Based upon my training and experience as a Special Agent, and consultations
24 with law enforcement officers experienced in narcotics trafficking investigations, and all
25 the facts and opinions set forth in this affidavit, I submit the following:
26         a.     Drug traffickers and their accomplices often will use cellular/mobile
27                telephones because they are mobile, and they have instant access to
                  telephone calls, text, web, and voice messages.
28

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        Case 3:19-mj-05146-BGS Document 1 Filed 11/18/19 PageID.5 Page 5 of 14



           b.     Drug traffickers and their accomplices often will use cellular/mobile
 1
                  telephones because they are able to actively monitor the progress of their
 2                illegal cargo while the conveyance is in transit.
 3
           C.     Drug traffickers and their accomplices often will use cellular/mobile
 4                telephones because they can easily arrange and/or determine what time their
                  illegal cargo will arrive at predetermined locations.
 5
 6         d.     Drug traffickers often will use cellular/mobile telephones to communicate
                  with drivers, including to direct drivers to synchronize an exact drop off
 7
                  and/or pick up time of their illegal cargo.
 8
           e.    Drug traffickers often will use cellular/mobile telephones to notify or warn
 9
                 their accomplices of law enforcement activity to include the presence and
10               posture of marked and unmarked units, as well as the operational status of
11
                 checkpoints and border crossings.

12         f.    Drug traffickers and their co-conspirators often use cellular/mobile telephones
13               to communicate with load drivers who transport their narcotics and/or drug
                 proceeds.
14
15         g.    The use of cellular telephones by drug traffickers and their accomplices tends
                 to generate evidence that is stored on the cellular telephones, including but
16               not limited to emails, text messages, photographs, audio files, videos, call
17               logs, address book entries, IP addresses, social network data, and location
                 data.
18
           12.   Based upon my training and experience as a Special Agent, and
19
     consultations with law enforcement officers experienced in narcotics trafficking
20
     investigations, and all the facts and opinions set forth in this affidavit, I know that
21
     cellular/mobile telephones can and often do contain electronic records, phone logs and
22
     contacts, voice and text communications, and data such as emails, text messages, chats
23
     and chat logs from various third-party applications, photographs, audio files, videos,
24
     and location data. This information can be stored within disks, memory cards, deleted
25
     data, remnant data, slack space, and temporary or permanent files contained on or in
26
     the cellular/mobile telephone. Specifically, I know based upon my training, education,
27
     and experience investigating these conspiracies that searches of cellular/mobile
28
     telephones yields evidence:
                                                4
        Case 3:19-mj-05146-BGS Document 1 Filed 11/18/19 PageID.6 Page 6 of 14




 1         a.     tending to indicate efforts to import methamphetamine or some other
 2                federally controlled substances from Mexico into the United States;

 3                tending to identify accounts, facilities, storage devices, and/or services-
           b.
 4                such as email addresses, IP addresses, and phone numbers-used to
                  facilitate the importation of methamphetamine or some other federally
 5                controlled substances from Mexico into the United States;
 6
           C.     tending to identify co-conspirators, criminal associates, or others involved
 7
                  in importation of methamphetamine or some other federally controlled
 8                substances from Mexico into the United States;
 9
           d.     tending to identify travel to or presence at locations involved in the
10                importation of methamphetamine or some other federally controlled
                  substances from Mexico into the United States, such as stash houses, load
11
                  houses, or delivery points;
12
           e.     tending to identify the user of, or persons with control over or access to,
13
                  the target devices; and/or
14
           f.     tending to place in context, identify the creator or recipient of, or establish
15
                  the time of creation or receipt of communications, records, or data involved
16                in the activities described above.
17
           13.    Subscriber Identity Module (SIM) Cards, also known as subscriber identity
18
     modules, are smart cards that store data for GSM cellular telephone subscribers. Such data
19
20 includes user identity, location and phone number, network authorization data, personal

21   security keys, contact lists and stored text messages. Some of the evidence generated by a

22 smuggler's use of a cellular telephone would likely be stored on any SIM Card that has

23   been utilized in connection with that telephone.
24         14.    Based upon my experience investigating drug smuggling, my training, and my
25
     consultation with other investigators who have experience investigating drug smuggling in
26
     near the border, I understand that drug smugglers will seek to smuggle drugs from Mexico
27
     to the United States by hiding the drugs in hidden compartments of cars, and in non-factory
28
     compartments (i.e., compartments that the manufacturer did not design for ordinary use).
                                                  5
        Case 3:19-mj-05146-BGS Document 1 Filed 11/18/19 PageID.7 Page 7 of 14


                                                        •
 1 Smugglers will then drive north from Mexico and seek to pass through POEs with the drugs

 2 undetected. (I am also aware that such individuals will sometimes try to generate a history
 3 of crossings to show that driving through a POE is ordinary behavior for them.) When they
 4
     arrive in the United States, smugglers will take the drugs to a discreet location to transfer
 5
     them to other people involved in the distribution chain, who can then send the drugs to
 6
     other locations for downstream distribution.
 7
           15.    Furthermore, based on my training and conversations with other law
 8
     enforcement officers who investigate drug smuggling and trafficking, I know that drug
 9
     conspiracies often require detailed and intricate planning to successfully evade detection.
10
     Consequently, drug conspiracies often involve planning and coordination for several
11
     months-this planning often occurs through mobile telephones. Additionally, based on
12
     my training and conversations with other law enforcement officers who investigate drug
13
     smuggling and trafficking, I know that coconspirators are often unaware when a fellow
14
     coconspirator has been arrested and will attempt to communicate with that coconspirator
15
     via mobile telephone after his or her arrest to determine the whereabouts of drugs that are
16
     being transported.
17
                          FACTS SUPPORTING PROBABLE CAUSE
18
           16.    On July 30, 2019, at approximately 6:30 PM, MARTINEZ, a United States
19
     citizen, applied for entry into the United States from Mexico at the San Ysidro, California,
20
     Port of Entry in vehicle lane #16.      MARTINEZ was the driver, sole occupant, and
21
     registered owner of a 2019 Toyota Corolla bearing California license plates 8LBY620 ("the
22
     Vehicle").
23
24         17.    According to a report by Customs and Border Protection Officer ("CBPO")
25 M. Perez, he received two negative Customs declarations from MARTINEZ and received
26 MARTINEZ' s valid United States passport card. CBPO Perez asked MARTINEZ to open
27 the trunk and began a brief inspection. He pulled the right rear quarter panel carpet back
28 and observed what appeared to be a crystal-like substance wrapped in a clear plastic

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       Case 3:19-mj-05146-BGS Document 1 Filed 11/18/19 PageID.8 Page 8 of 14




 1 package. MARTINEZ was asked to step out of the vehicle and was escorted to the security
 2 office. The vehicle was then sent to secondary inspection for further processing.
 3         18.   According to a report by CBPO J. Steams, he was operating the Z-Portal X-
 4 Ray machine and detected anomalies in both rear quarter panels and the rear seats of the
 5 Vehicle.
 6         19.   According to a report by Canine Enforcement Team Officer K. Smolkovich,
 7 she was conducting secondary inspection operations when she heard a call on the radio that
 8 a vehicle showed anomalies. She had her assigned Narcotic and Human Detection Dog
 9 ("NHDD") conduct a sniff of the Vehicle, at which point her NHDD alerted and indicated
1O to a trained odor coming from the rear driver side wall of the Vehicle.
11         20.   According to a report by CBPO A. Torres, CBPO Torres was the assigned
12 seizing officer.   After conducting a further inspection of the Vehicle, CBPO Torres
13 discovered packages in the driver and passenger-side rear quarter panels of the Vehicle.
14 One package from the rear driver side quarter panel was tested and tested positive for the
15 characteristics ofmethamphetamine. CBPO Torres then placed MARTINEZ under arrest.
16         21.   CBPO Torres extracted the remaining packages from the vehicle, in
17 particular: 7 additional packages form the left quarter panel, 13 packages from the right
18 quarter panel, and 4 packages from under the rear passenger seats of the vehicle. Together,
19 the 25 packages weighed approximately 25.50 kilograms (56.22 pounds). CBPO Torres
20 further seized the Vehicle, the packages of methamphetamine, and the Target Device that
21 was with MARTINEZ at time of arrest. 1
22         22.   I was notified of the event and responded to the San Ysidro POE. Upon my
23 arrival, I made contact with MARTINEZ and was provided with personal effects that had
24
25
         It is unclear from Officer Torres' report whether the Target Device was seized from
26 the Vehicle or from MARTINEZ's person. However, based on my training and experience,
27 I know that CBP officers collect personal items from both the Vehicle and the individual's
   person, place them in a secure location, and if that person is subsequently arrested, provide
28 them to the HSI case agent when he/she arrives at the POE.

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         Case 3:19-mj-05146-BGS Document 1 Filed 11/18/19 PageID.9 Page 9 of 14




 1 been seized from him. Among those personal effects was the Target Device. 2
 2         23.   I advised MARTINEZ of his Miranda rights. MARTINEZ waived his rights,
 3 and I subsequently conducted a recorded interview of MARTINEZ.
 4         24.   During the post-Miranda interview, MARTINEZ stated that he believed he
 5 was smuggling large amounts of money, which he believed to be drug proceeds. He
 6 admitted that he knew that the organization he was working for was involved with drugs.
 7 He stated that he was going to be paid $2,500 to smuggle money from the United States to
 8 Mexico. MARTINEZ claimed a lock box was put into the vehicle engine/battery area with
 9 a GPS, but officers did not find one. MARTINEZ stated he would communicate via the
1O Whats App application on the Target Device.
11         25.   MARTINEZ stated that he had responded to a Facebook advertisement
12 looking for drivers. MARTINEZ then met a male known as Jose Perez ("PEREZ") who
13 told him that he was going to be crossing cash from Mexico to the U.S. Later, PEREZ told
14 MARTINEZ that he was going to cross money from the U.S. to Mexico. MARTINEZ
15 admitted that the day of his arrest was going to be the third time that he worked for this
16 organization. After he met with PEREZ, MARTINEZ was put in contact with another
17 individual, "JAIME." JAIME became the new point of contact for MARTINEZ; ~e would
18 instruct MARTINEZ when he was going to work and send him the meeting locations in
19 Tijuana and locations in Orange County. MARTINEZ described the second occasion that
20 he had worked for JAIME, earlier that day, during which he had met with another male,
21 Fabelo Martinez ("F ABELO") at a restaurant in Orange County and turned over the
22 Vehicle. The Vehicle was returned to MARTINEZ about four hours later, at which point
23 F ABELO told MARTINEZ that he was still waiting on the money that MARTINEZ had
24 to transport south. MARTINEZ had to drive to a second location to wait and met with
25

26   2
          At the time ofMARTINEZ's arrest, which was prior to the decision in United States
27 v. Miguel Cano, 934 F.3d 1002 (9th Cir. 2019), I accessed and reviewed the contents of
   the Target Device pursuant to what I believed was legal border search authority. I have
28 not included any of that information herein and submit that there is independent probable
   cause justifying issuance of the requested warrant to search the Target Device.
                                              8
       Case 3:19-mj-05146-BGS Document 1 Filed 11/18/19 PageID.10 Page 10 of 14




 1 other individuals there; ultimately, the money was placed behind the passenger side seat in
 2 the Vehicle, and MARTINEZ drove the Vehicle back to Tijuana. In Tijuana, another male
 3 took his car and returned it about 45 minutes later. MARTINEZ stated he was then asked
 4 to work again, and he agreed. MARTINEZ stated he was supposed to pick up money the
 5 following day (7/31/2019) and was headed back home that night.
 6         26.   Given the facts surrounding MARTINEZ arrest, and based upon my
 7 experience and training, as well as consultation with other law enforcement officers
 8 experienced in drug smuggling investigations, I submit that there is probable cause to
 9 believe that MARTINEZ used the Target Device to further his drug smuggling activity,
10 and that because the Target Device has been securely stored since it was seized,
11   information relevant to MARTINEZ's drug smuggling activity continues to exist on the
12 Target Device. Such evidence could be in the form of communications, records, data
13 (including but not limited to emails, text messages, other social messaging
14 applications), photographs, audio files, videos, or location data.
15         27.   I also know that drug trafficking conspiracies require intricate planning
16 and coordination to successfully evade detection. Based upon my professional training
17 and conversations with other law enforcement officers, this planning and coordination
18 often occurs days, weeks, or even months prior to the actual importation of the drugs
19 into the United States. Additionally, co-conspirators are often unaware of a subject's
20 arrest and will continue to attempt to communicate with the subject after the arrest to
21   determine the whereabouts of valuable cargo, particularly in the hours following the
22 arrest. Therefore, I believe that the appropriate date range for the search of the Target
23 Device is from May 2, 2019, up to and. including July 31, 2019, which was the day
24 following MARTINEZ's arrest.
25                                    METHODOLOGY
26         28.   It is not possible to determine, merely by knowing the cellular/mobile
27 telephone's make, model and/or serial number, the nature and types of services to which
28 the device is subscribed, and the nature of the data stored on the device. Cellular/mobile

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       Case 3:19-mj-05146-BGS Document 1 Filed 11/18/19 PageID.11 Page 11 of 14




 1 devices today can be simple cellular telephones and text message devices, can include
 2 cameras, can serve as personal digital assistants and have functions such as calendars
 3 and full address books and can be mini-computers allowing for electronic mail services,
 4 web services and rudimentary word processing. An increasing number of
 5 cellular/mobile service providers now allow for their subscribers to access their device
 6 over the internet and remotely destroy all the data contained on the device. For that
 7 reason, the device may only be powered in a secure environment or, if possible, started
 8 in "flight mode" which disables access to the network. Unlike typical computers, many
 9 cellular/mobile telephones do not have hard drives or hard drive equivalents and store
10 information in volatile memory within the device or in rpemory cards inserted into the
11 device. Current technology provides some solutions for acquiring some of the data
12 stored in some cellular/mobile telephone models using forensic hardware and software.
13 Even if some of the stored information on the device may be acquired forensically, not
14 all of the data subject to seizure may be so acquired. For devices that are not subject to
15 forensic data acquisition or that have potentially relevant data stored that is not subject
16 to such acquisition, the examiner must inspect the device manually and record the
17 process and the results using digital photography. This process is time and labor
18 intensive and may take weeks or longer.
19         29.   Fallowing the issuance of this warrant, I will collect the subject
20 cellular/mobile telephone and subject it to analysis. All forensic analysis of the data
21 contained within the telephone and its memory cards will employ search protocols
22 directed exclusively to the identification and extraction of data within the scope of this
23 warrant.
24         30.   Based on the foregoing, identifying and extracting data subject to seizure
25 pursuant to this warrant may require a range of data analysis techniques, including
26 manual review, and, consequently, may take weeks or months. The personnel
27 conducting the identification and extraction of data will complete the analysis within
28 90 days, absent further application to this court.

                                                10
       Case 3:19-mj-05146-BGS Document 1 Filed 11/18/19 PageID.12 Page 12 of 14




 1                                  CONCLUSION
 2         31.   Based on all the facts and circumstances described above, there is probable
 3 cause to conclude that MARTINEZ used the Target Devices to facilitate violations of
 4 Title 21, United States Code, Section(s) 952, 960, and 963.

 5         32.   Because the Target Device was promptly seized during the investigation
 6 of MARTINEZ's trafficking activities and have been securely stored, there is probable
 7 cause to believe that evidence of illegal activities committed by MARTINEZ continues
 8 to exist on the Target Device.
 9         33.   WHEREFORE, I request that the court issue a warrant authorizing law
1O enforcement agents and/or other federal and state law enforcement officers to search
11 the Target Device described in Attachment A, and seize the items listed in Attachment
12 B, using the methodology described above.
13
14 I swear the foregoing is true and correct o the best of my knowledge and belief.
15
16                      Seidy Gaytan
                        Special Agent
17
                        Homeland Security Investigations
18                      Department of Homeland Security
19
     Subscribed and sworn to before me this /i> day of November, 2019.
20
21
22
23  ~
24 TheHonorableBerG. Skomal
   United States Magistrate Judge
25
26
27
28

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  Case 3:19-mj-05146-BGS Document 1 Filed 11/18/19 PageID.13 Page 13 of 14




                              ATTACHMENT A
                          PROPERTY TO BE SEARCHED

The following property is to be searched:

                   One (1) White and Silver Apple I-Phone Cellular Telephone
                   FPF No: 2019250400194201, Line Item 0003
                   (the "Target Device")

The Target Device is currently in the possession of the Department of Homeland
Security at 2255 Niels Bohr Court, San Diego, California 92154.
  Case 3:19-mj-05146-BGS Document 1 Filed 11/18/19 PageID.14 Page 14 of 14



                                 ATTACHMENT B
                               ITEMS TO BE SEIZED

      Authorization to search the cellular/mobile telephone described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in the cellular/mobile telephone for
evidence described below. The seizure and search of the cellular/mobile telephone shall
follow the search methodology described in the affidavit submitted in support of the
warrant.

       The evidence to be seized from the cellular/mobile telephone will be electronic
records, communications, and data such as emails, text messages, chats and chat logs
from various third-party applications, photographs, audio files, videos, and location
data, for the period of May 2, 2019, up to and including July 31, 2019:

      a.    tending to indicate efforts to import methamphetamine or some other
            federally controlled substances from Mexico into the United States;

      b.    tending to identify accounts, facilities, storage devices, and/or services -
            such as email addresses, IP addresses, and phone numbers - used to
            facilitate the importation of methamphetamine or some other federally
            controlled substances from Mexico into the United States;

      c.    tending to identify co-conspirators, criminal associates, or others involved
            in importation of methamphetamine or some other federally controlled
            substances from Mexico into the United States;

      d.    tending to identify travel to or presence at locations involved in the
            importation of methamphetamine or some other federally controlled
            substances from Mexico into the United States, such as stash houses, load
            houses, or delivery points;

      e.    tending to identify the user of, or persons with control over or access to,
            the Target Device; and/or

      f.    tending to place in context, identify the creator or recipient of, or establish
            the time of creation or receipt of communications, records, or data involved
            in the activities described above;

which are evidence of violations of Title 21, United States Code, Sections 952, 960,
and 963.
